Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 1 of 16 PageID:
                                    207
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 2 of 16 PageID:
                                    208
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 3 of 16 PageID:
                                    209
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 4 of 16 PageID:
                                    210
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 5 of 16 PageID:
                                    211
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 6 of 16 PageID:
                                    212
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 7 of 16 PageID:
                                    213
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 8 of 16 PageID:
                                    214
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 9 of 16 PageID:
                                    215
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 10 of 16 PageID:
                                     216
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 11 of 16 PageID:
                                     217
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 12 of 16 PageID:
                                     218
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 13 of 16 PageID:
                                     219
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 14 of 16 PageID:
                                     220
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 15 of 16 PageID:
                                     221
Case 2:09-cv-06244-WJM-MF   Document 21-7   Filed 03/22/10   Page 16 of 16 PageID:
                                     222
